Case 3:00-cr-00057-GMG-RWT Document 1088 Filed 05/06/05 Page 1 of 1 PageID #: 2389




                           IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                     AT MARTINSBURG

   ROBERT LEO BREEDEN,

                     Petitioner,

  v.                                                          CIVIL ACTION NO. 3:04CV60
                                                              CRIMINAL ACTION NO. 3:00CR57
                                                              (BROADWATER)

  UNITED STATES OF AMERICA,

                    Respondent.

                          ORDER ADOPTING REPORT AND RECOMMENDATION

            On this day the above styled case came before the Court for consideration of the Report and

  Recommendation (Docket # 5) of Magistrate Judge James E. Seibert, dated March 24, 2005 regarding

  petitioner’s Motion to Vacate under 28 U.S.C. § 2255. The petitioner did not file objections to the Report.

  After reviewing the above, the Court is of the opinion that the Magistrate Judge’s Report and Recommendation

  should be and is hereby ORDERED adopted.

               The Court further ORDERS that petitioner’s § 2255 motion (Docket # 1) be DENIED and

  DISMISSED WITH PREJUDICE based on the reasons set forth in the Magistrate Judge’s Report and

  Recommendation. It is further ORDERED that this action be and is hereby STRICKEN from the active

  docket of this Court.

            The Clerk is directed to transmit true copies of this Order to the petitioner and all counsel of record

  herein.

            DATED this 5th day of May 2005.
